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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

  IN RE:
  Earl E Cloud, III,                                         CASE NO.:         18-71768-pmb
                                                             CHAPTER:          7
                                                             JUDGE:            PAUL M. BAISIER
                       Debtor(s).                     /


                                       NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that in accordance with Fed. R. Bankr. P. 2002 and 9010(b), the undersigned
enters an appearance in this case on behalf of Matrix Financial Services Corporation. Request is made that all
notices given or required to be given in this action and all related actions, be given and served upon the
following:

                                              Laura A. Grifka
                                       McMichael Taylor Gray, LLC
                                     3550 Engineering Drive, Suite 260
                                       Peachtree Corners, GA 30092
                                           lgrifka@mtglaw.com

        PLEASE TAKE FURTHER NOTICE that the foregoing demand includes, but is not limited to, Orders
and Notices of any Application, Motion, Petition, Adversary Complaints, Objections, Requests, any
amendments to the Schedules or Statement of Financial Affairs, all pleadings, all creditors committee notices,
demands, and all other notices as required by the United States Bankruptcy Code and Rules and/or the Local
Rules of the above-referenced court, whether such papers be formal or informal, whether written or oral, and
whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, facsimile, or otherwise.

        PLEASE TAKE FURTHER NOTICE that the foregoing request includes the above attorney's request
to be added to the master mailing list and the ECF/Pacer electronic notice list for the above-referenced case.

       This notice of appearance does not constitute consent to acceptance of service of process of any
subpoena, summons, or other process subject to service pursuant to Bankruptcy Rules 7004 or 9016.

Dated: February 16, 2023

                                                           Respectfully submitted,

                                                           By: /s/ Laura A. Grifka
                                                           Laura A. Grifka, GBN 312055
                                                           MCMICHAEL TAYLOR GRAY, LLC
                                                           Attorney for Creditor
                                                           3550 Engineering Drive, Suite 260
                                                           Peachtree Corners, GA 30092
                                                           Telephone: 404-474-7149
                                                           Facsimile: 404-745-8121
                                                           E-mail: lgrifka@mtglaw.com
                                                           MTG File No.: 23-000221-01
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                                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing in the above captioned case was
this day served upon the below named persons by either United States Mail or Electronic Mail at the addresses
shown below:

Via U.S. Mail
Earl E Cloud III
24 Leslie Drive NE
Atlanta, GA 30307


Via CM/ECF electronic service:
G. Frank Nason, IV
Lamberth, Cifelli, Ellis & Nason, P.A.
Suite 435
6000 Lake Forrest Drive, N.W
Atlanta, GA 30328

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

Dated: February 16, 2023

                                                          By: /s/ Laura A. Grifka
                                                          Laura A. Grifka, GBN 312055
                                                          MCMICHAEL TAYLOR GRAY, LLC
                                                          Attorney for Creditor
                                                          3550 Engineering Drive, Suite 260
                                                          Peachtree Corners, GA 30092
                                                          Telephone: 404-474-7149
                                                          Facsimile: 404-745-8121
                                                          E-mail: lgrifka@mtglaw.com
                                                          MTG File No.: 23-000221-01
